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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

COLLINS BOLINGER,
    Plaintiff,

v.

TRANS UNION, LLC,
a Delaware limited liability company, and
WELLS FARGO BANK, N.A., d/b/a
WELLS FARGO CARD SERVICES,
a foreign corporation,
       Defendants.
__________________________________________________________________

                        COMPLAINT AND JURY DEMAND

         NOW COMES THE PLAINTIFF, COLLINS BOLINGER, THROUGH

COUNSEL, CREDIT REPAIR LAWYERS OF AMERICA, who, for his

Complaint against the Defendants, plead as follows:



                                   JURISDICTION

      1. Jurisdiction of this court arises under 15 U.S.C. §1681p.

      2. This is an action brought by consumers for violation of the Fair Credit

         Reporting Act, 15 U.S.C. § 1681 et seq. (hereinafter “FCRA”).




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                                       VENUE

 3. The transactions and occurrences which give rise to this action occurred in

    Emmett County, Michigan.

 4. Venue is proper in the Western District of Michigan.



                                     PARTIES

 5. Plaintiff is a natural person residing in Petoskey, Emmett County, Michigan.

 6. The Defendants to this lawsuit are:

       a. Trans Union, LLC (“Trans Union”) which is a Delaware company that

            maintains a registered agent in Ingham County, Michigan; and

       b. Wells Fargo Bank, N.A., d/b/a Wells Fargo Card Services (“Wells

            Fargo”) which is a foreign corporation that maintains a registered agent

            in Richmond, Virginia.



                            GENERAL ALLEGATIONS

 7. Wells     Fargo   is   reporting    its   trade   line   with   account   number

    446540003099**** (“Errant Trade Line”) with an inaccurate status of

    account included in bankruptcy. This is false because the account that is the

    subject of the Errant Trade Line was discharged in Mr. Bolinger’s Chapter 7

    Bankruptcy.
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 8. On August 15, 2014, Mr. Bolinger received a discharge of his debts, including

    the debt which is the subject of the Errant Trade Line.

 9. On August 1, 2017, Mr. Bolinger obtained his credit file and notice Wells

    Fargo reporting the Errant Trade Line without indicating that the account was

    discharged in bankruptcy.

 10.On or about September 12, 2017, Mr. Bolinger submitted a letter to Trans

    Union disputing the incorrect account status. In these dispute letters, Mr.

    Bolinger explained that he filed for Chapter 7 Bankruptcy, received a

    discharge, and attached the order of discharge. Mr. Bolinger asked Trans

    Union to report the account as discharged in bankruptcy.

 11.Upon information and belief, Trans Union forwarded the consumer disputes

    to Wells Fargo.

 12.On or about September 23, 2017, Mr. Bolinger received Trans Union’s

    investigation results which showed that the Errant Trade Line was updated,

    but Wells Fargo failed to report the Errant Trade Line as discharged in

    bankruptcy.

 13.As a direct and proximate cause of the Defendants’ negligent and/or willful

    failure to comply with the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq.,

    Plaintiff has suffered credit and emotional damages. Due to the Defendants’

    failure to correct the errors in his credit file, Plaintiff has been forced to refrain
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    from applying for new credit or more favorable terms on existing credit lines.

    Plaintiff has also experienced undue stress and anxiety due to Defendants’

    failure to correct the errors in his credit file or improve his financial situation

    by obtaining new or more favorable credit terms as a result of the Defendants’

    violations of the FCRA.



                                    COUNT I

NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
                  BY WELLS FARGO

 14.Plaintiff realleges the above paragraphs as if recited verbatim.

 15.After being informed by Trans Union of Mr. Bolinger’s consumer dispute to

    the Errant Trade Line, Wells Fargo negligently failed to conduct a proper

    reinvestigation of Mr. Bolinger’s dispute as required by 15 U.S.C. § 1681s-

    2(b), and negligently failed to direct Trans Union to correct the status of the

    Errant Trade Line.

 16.Wells Fargo negligently failed to review all relevant information available to

    it and provided by Trans Union in conducting its reinvestigation as required

    by 15 U.S.C. § 1681s-2(b).




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   17.The Errant Trade Line is inaccurate and creates a misleading impression on

      Mr. Bolinger’s consumer credit file with Trans Union to which it is reporting

      such trade line.

   18.As a direct and proximate cause of Wells Fargo’s negligent failure to perform

      its duties under the FCRA, Mr. Bolinger has suffered damages, mental

      anguish, suffering, humiliation and embarrassment.

   19.Wells Fargo is liable to Mr. Bolinger by reason of its violations of the FCRA

      in an amount to be determined by the trier fact, together with reasonable

      attorneys’ fees and costs pursuant to 15 U.S.C. § 1681o.

   20.Mr. Bolinger has a private right of action to assert claims against Wells Fargo

      arising under 15 U.S.C. § 1681s-2(b).



      WHEREFORE, PLAINTIFF PRAYS that this court grant him a judgment

against Defendant Wells Fargo for damages, costs, interest and attorneys’ fees.



                                       COUNT II

       WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
                        BY WELLS FARGO

   21.Plaintiff realleges the above paragraphs as if recited verbatim.



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   22.After being informed by Trans Union that Mr. Bolinger disputed the accuracy

      of the information it provided, Wells Fargo willfully failed to conduct a proper

      reinvestigation of Mr. Bolinger’s dispute, and willfully failed to direct Trans

      Union to correct the status of the Errant Trade Line.

   23.Wells Fargo willfully failed to review all relevant information available to it

      and provided by Trans Union as required by 15 U.S.C. § 1681s-2(b).

   24.As a direct and proximate cause of Wells Fargo’s willful failure to perform its

      respective duties under the FCRA, Mr. Bolinger has suffered damages, mental

      anguish, suffering, humiliation and embarrassment.

   25.Wells Fargo is liable to Mr. Bolinger for either statutory damages or actual

      damages he has sustained by reason of its violations of the FCRA in an amount

      to be determined by the trier fact, together with an award of punitive damages

      in the amount to be determined by the trier of fact, as well as for reasonable

      attorneys’ fees and costs pursuant to 15 U.S.C. § 1681n.



      WHEREFORE, PLAINTIFF PRAYS that this court grant him a judgment

against Wells Fargo for the greater of statutory or actual damages, plus punitive

damages, along with costs, interest and attorneys’ fees.




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                                  COUNT III

NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
                  BY TRANS UNION

 26.Plaintiff realleges the above paragraphs as if recited verbatim.

 27.Defendant Trans Union prepared, compiled, issued, assembled, transferred,

    published and otherwise reproduced consumer reports regarding Mr. Bolinger

    as that term is defined in 15 U.S.C. § 1681a.

 28.Such reports contained information about Mr. Bolinger that was false,

    misleading and inaccurate.

 29.Trans Union negligently failed to maintain and/or follow reasonable

    procedures to assure maximum possible accuracy of the information it

    reported to one or more third parties pertaining to Mr. Bolinger in violation of

    15 U.S.C. § 1681e(b).

 30. After receiving Mr. Bolinger’s consumer dispute to the Errant Trade Line,

    Trans Union negligently failed to conduct a reasonable reinvestigation as

    required by 15 U.S.C. § 1681i.

 31.As a direct and proximate cause of Trans Union’s negligent failure to perform

    its duties under the FCRA, Mr. Bolinger has suffered actual damages, mental

    anguish and suffering, humiliation and embarrassment.



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   32.Trans Union is liable to Mr. Bolinger by reason of its violation of the FCRA

      in an amount to be determined by the trier fact together with his reasonable

      attorneys’ fees pursuant to 15 U.S.C. § 1681o.



      WHEREFORE, PLAINTIFF PRAYS that this court grant him a judgment

against Trans Union for actual damages, costs, interest and attorneys’ fees.



                                    COUNT IV

       WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
                      BY TRANS UNION

   33.Plaintiff realleges the above paragraphs as if recited verbatim.

   34.Defendant Trans Union prepared, compiled, issued, assembled, transferred,

      published and otherwise reproduced consumer reports regarding Mr. Bolinger

      as that term is defined in 15 U.S.C. § 1681a.

   35.Such reports contained information about Mr. Bolinger that was false,

      misleading and inaccurate.

   36.Trans Union willfully failed to maintain and/or follow reasonable procedures

      to assure maximum possible accuracy of the information that it reported to

      one or more third parties pertaining to Mr. Bolinger, in violation of 15 U.S.C.

      § 1681e(b).

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   37. After receiving Mr. Bolinger’s consumer dispute to the Errant Trade Line,

      Trans Union willfully failed to conduct a reasonable reinvestigation as

      required by 15 U.S.C. § 1681i.

   38.As a direct and proximate cause of Trans Union’s willful failure to perform

      its duties under the FCRA, Mr. Bolinger has suffered actual damages, mental

      anguish and suffering, humiliation and embarrassment.

   39.Trans Union is liable to Mr. Bolinger by reason of its violations of the FCRA

      in an amount to be determined by the trier of fact together with his reasonable

      attorneys’ fees pursuant to 15 U.S.C. § 1681n.



      WHEREFORE, PLAINTIFF PRAYS that this court grant him a judgment

against Defendant Trans Union for the greater of statutory or actual damages, plus

punitive damages along with costs, interest and reasonable attorneys’ fees.



                                JURY DEMAND

      Plaintiff hereby demands a trial by Jury.




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                          Respectfully submitted.


 October 17, 2017        /s/ Gary Nitzkin
                         GARY D. NITZKIN (P 41155)
                         TRAVIS SHACKELFORD P68710
                         CARL SCHWARTZ P70335
                         CREDIT REPAIR LAWYERS OF AMERICA
                         Attorneys for Plaintiff
                         22142 West Nine Mile Road
                         Southfield, MI 48033
                         (248) 353-2882
                         Fax (248) 353-4840
                         Email – gary@crlam.com




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